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                      EXHIBIT 26
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1          HIGHLY CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
2
3                   UNITED STATES DISTRICT COURT
4                     NORTHERN DISTRICT OF OHIO
5                         EASTERN DIVISION
6       _________________________
        IN RE: NATIONAL              )
7       PRESCRIPTION OPIATE          )
        LITIGATION,                  )
8                                    )
        This document relates to:    )
9                                    )MDL No. 2804
        Jennifer Artz v. Endo Health )Case No. 17-md-2804
10      Solutions, Inc., et al.      )
        Case No. 1:19-OP-45459       )Judge Dan Aaron
11                                   )Polster
        Darren and Elena Flanagan v. )
12      McKesson Corporation, et al. )
        Case No. 1:18-OP-45405       )
13                                   )
        Michelle Frost, et al., v.   )
14      Endo Health Solutions Inc., )
        et al.                       )
15      Case No. 1:18-OP-46327       )
                                     )
16      Walter and Virginia Salmons, )
        et al., v. McKesson          )
17      Corporation, et al.          )
        Case No. 1:18-OP-45268       )
18                                   )
19                DEPOSITION OF JACQUELINE RAMIREZ
20                       Oxnard, California
21                  Wednesday, February 5, 2020
22
23      Reported by:
        Lori M. Barkley
24      CSR No. 6426
        Job No. 3971225-B
25

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1            A.         No, previous.
2            Q.         Ms. Ramirez, do you know who you have sued
3       in this action?
4            A.         Basically the pharmaceutical companies.
5       Basically the ones that knew and distributed the
6       meds.     So I guess that would be pharmaceutical
7       companies, the distributors, I guess possibly some of
8       the pharmacists that, I guess gave the meds --
9            Q.         Okay.     Your understanding is that you sued
10      pharmaceutical manufacturers, distributors, and
11      pharmacists?
12           A.         No, not pharmacists.           Pharmacy companies.
13           Q.         Pharmacy companies.
14           A.         Yes.
15           Q.         Can you name any of the distributors you've
16      sued in this case?
17           A.         I believe there's Purdue, I believe there
18      is, I think at the call Activist, Janssen.
19           Q.         Not looking at the complaint, are you aware
20      of --
21           A.         Oh.     So don't look --
22           Q.         I'm just asking about your personal
23      knowledge if you can name the defendants that you've
24      sued in this case.
25           A.         I believe one was Mallinckrodt.           I believe

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1       there's Janssen, who's -- which is part of
2       Johnson & Johnson, I believe, which makes Dueagesics.
3                       I believe there was -- oh, gosh.          Some
4       Walmarts were in there, some Walgreen's were in
5       there, Von's.
6                       And I can't remember the rest that I read.
7            Q.         One more question about that.
8                       Do you know what relief you are seeking in
9       this lawsuit?           And do you know what I mean by that
10      when you say the relief you're seeking?
11           A.         Can you explain it a little further?
12           Q.         Sure.
13                      What are you looking to get out of the
14      lawsuit?
15           A.         Basically monitor, surveillance for the
16      children that are younger than my son.                 My son is 14.
17      I'm hoping -- and I hate to say the word "hoping,"
18      there's other children older than my son that's gone
19      through that, because I wouldn't want any children
20      going through this.
21                      But I'm hoping so that he can be helped and
22      everything that my son's gone through, so no other
23      parents have to guess.             They would have, like, some
24      kind of monitoring where they can basically learn
25      from what I have learned about the help from anybody

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1       else, I didn't get.
2              Q.       You mentioned that your son is 14, but what
3       you're looking for would cover children that are
4       younger than 14?
5              A.       Yes.   Younger children that are being
6       born -- 'cause there are still children being born
7       with NAS.         I'm -- real quick.
8                       MR. DANN:   Tissues.
9                       THE WITNESS:     There's a lot of families out
10      there that when my child was born with NAS, it wasn't
11      really, I guess acknowledged that or it wasn't --
12      maybe it was acknowledged, but it wasn't told that
13      they can be born addicted and withdrawals and the
14      developmental problems that they would go through
15      throughout their life.
16                      So I did a lot of research on my own.
17      BY MS. DESH:
18             Q.       You did that research, when did you do that
19      research?
20             A.       After my child was born and I knew he wasn't
21      reaching his developmental skills and milestones, I
22      would search Google, go to the library, and try to
23      find anything that would correlate with what he's
24      got.
25                      A lot of times, there wasn't no answers.           I

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1       taking it.            You guess the embarrassment.         Because it
2       thinned out my hair, my hair would fall out and I
3       would get blanches and I was very skinny.
4                       And I just -- I just stopped taking it -- I
5       mean, I just went off of it.                  Told my mom I'm not
6       taking this no more.
7            Q.         So I know that you had custody until she was
8       maybe an adult of your niece; is that right, Josalyn?
9            A.         Correct.
10           Q.         Okay.     Have any other children lived with
11      you in your home?
12                      I saw a name Romero Ramirez.            Is that
13      somebody that you know?
14           A.         No.     Probably Roman Ramirez.
15           Q.         Maybe it was a misspelling.
16                      So you've been married to Roman since 1998.
17      Have you been separated from Roman?
18           A.         No legal separation, just you get kind of
19      like an upset kind of thing, which having a special
20      needs child can -- when you're doing a lot of
21      multiple work -- yes, I understand he works.
22                      But yes, there was -- yeah, separation for
23      two weeks, a week, where it's like, okay, we're going
24      to separate, he would go to his mom's and he would
25      stay for a short period of time, like I said, a week

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1       or two, and come back.
2                       So if you call that separation, I guess
3       it's -- you know.
4            Q.         Did that happen on and off for several
5       years?
6            A.         Yes.     I think it was more so me saying, you
7       know, I'm overwhelmed, I just -- and you guess you
8       would say, I was a little younger and when you put in
9       the mix trying to raise a special needs child.                 And I
10      kind of felt I was doing most of the work.
11                      But now that I'm older, I can kind of
12      understand why I was doing most of the work because
13      he was going to work to provide for the family and
14      especially because we needed his health insurance for
15           .
16           Q.         Have you had health insurance continuously
17      since you were married to Roman?
18           A.         Yeah.
19           Q.         So you think the separation is due to your
20      feelings of being overwhelmed with your ability to
21      care for                and sort of the stressors in the home
22      related to that?
23           A.         Yes.
24           Q.         Roman was a little unclear about his work
25      schedule.

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